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Norma Chavez

From:                         Charles Hunter <chunter@hayeshunterlaw.com>
Sent:                         Wednesday, December 20, 2023 2:06 PM
To:                           Norma Chavez; Ana Castro
Cc:                           george@twomeymay.com; c.ross.travis@usdoj.gov; kbartley@ws-law.com; linda@ws-law.com;
                              Brendon Singh
Subject:                      Bankruptcy Case No. 23-33463



CAUTION - EXTERNAL:



Dear Judge Rodriguez,

I write to follow up on our conversa on in the hearing today in the adversary proceeding regarding my ability
to represent par es in these ac ons. You indicated that on the current record I can represent Ms. Han in the
adversary proceeding. I apologize for not thinking then to ask if I can con nue to represent the Debtors in the
reorganiza on proceeding un l subs tute counsel is obtained. I am not asking for legal advice but for a
statement of allowable prac ce in your court.

My concern is that Mr. Savvon has filed an emergency mo on today for dismissal, and Mr. May informs me
that his counsel will also file a mo on today addressing the stay. Addi onally, Ms. Han wants relief from the
DIP account deadline and the exclusivity date. If I cannot respond to these mo ons or file interim mo ons, the
Debtors will be unrepresented. I am concerned whether I can ethically withdraw leaving the client
unrepresented, although I fully appreciate the eﬀect of your order denying the applica on for employment.

I am asking for guidance and, essen ally, permission to protect the Debtors while they seek new counsel.

                                        Sincerely,

                                        Charles Clinton Hunter
                                        A orney

                                        Email: chunter@hayeshunterlaw.com

                                        Phone: (346) 363‐0334 ext. 701

                                        Fax: (713) 583‐7047

                                        Hayes Hunter PC
                                        4265 San Felipe St, Suite 1000
                                        Houston, TX 77027
                                        www.HayesHunterLaw.com




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